                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

  ANTHONY DAVID TEAL and              )
  ONETA KAY TEAL, Individually,       )
                                      )
        Plaintiffs,                   )                Civil Action No. _______________
                                      )
  v.                                  )                Removal from Circuit Court of
                                      )                Coffee County, Tennessee,
  COFFEE COUNTY BANK,                 )                Case No. 40525
                                      )
        Defendant.                    )                Jury Demand
  ____________________________________)

                                  NOTICE OF REMOVAL

         Defendant Coffee County Bank (“CCB”), through undersigned counsel, hereby

  notices the removal of this case from the Circuit Court of Coffee County, Tennessee to

  the United States District Court for the Eastern District of Tennessee. In support thereof,

  CCB states as follows:

         1.      On July 30, 2013, Plaintiffs Anthony David Teal and Oneta Kay Teal

  (“Plaintiffs”) brought the above-styled action against Coffee County Bank in the Circuit

  Court of Coffee County, Tennessee, Case No. 40525. Plaintiffs also filed, pursuant to that

  action, a Motion for Temporary Restraining Order and Preliminary Injunction against

  Kenneth C. Kirby, CCB’s President. See Verified Complaint, Motion for Temporary

  Restraining Order and Summons, attached hereto as Exhibit A. CCB was served with

  Plaintiffs’ Complaint and Motion on July 31, 2013.

         2.      Plaintiffs’ action seeks damages for alleged violations of federal law.

  Specifically, Plaintiffs allege violations of the Truth in Lending Act, 15 U.S.C. § 1635(b),

  and a violation of 11 U.S.C. § 524 of the Bankruptcy Code.




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         3.       The underlying facts forming the basis of Plaintiffs’ claims also form the

  basis of civil RICO and other claims currently pending before this Court in the case

  styled Anthony David Teal, et ux v. Coffee County Bank, et al., United States District

  Court Eastern District of Tennessee, Civil Action No. 4:13-cv-00019 (Collier J.).

  Accordingly, the matters should be consolidated.

         4.      This action is removable on the grounds that federal question jurisdiction

  exists pursuant 28 U.S.C. § 1331, as Plaintiffs’ claims for violations of the federal Truth

  in Lending Act and the Bankruptcy Code arise under the laws of the United States. See

  28 U.S.C. § 1441.

         5.      This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b). Notice

  of this action was served on CCB on July 31, 2013. Therefore, the 30-day period under

  28 U.S.C. § 1446(b) to remove this action has not yet expired.

         6.      Pursuant to 28 U.S.C. § 1446(a), CCB has attached hereto a copy of all

  process and pleadings served upon CCB in this action. See Ex. A

         7.      Pursuant to 28 U.S.C. § 1446(d), Defendants certify that a Notice of

  Removal has been filed with the Circuit Court of Coffee County, Tennessee and served

  upon Plaintiffs’ attorney at the address below.




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                                               Respectfully submitted,

                                               s/ Lynda Motes Hill
                                               Lynda Motes Hill, BPR #019427
                                               David P. Staubitz, BPR #31492
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                                               Attorneys for Defendant Coffee County Bank




                                    CERTIFICATE OF SERVICE

           I hereby certify that on August 1, 2013, a copy of the foregoing was filed

  electronically and was served upon Carol A. Molloy, Esq., 6724 Buford Station Road,

  Lynnville, Tennessee 38472, via U.S. mail, postage pre-paid, this 1st day of August,

  2013.


                                               FROST BROWN TODD LLC


                                               s/ Lynda Motes Hill




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